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                            DECLARATION OF ELIZABETH THROOP



       Elizabeth Throop declares, under penalty of perjury, pursuant to 28 U.S.C. §1746, that

the following is true and correct:

   1. My name is Elizabeth Throop.

   2. I have personal knowledge of all facts stated in this declaration, and if called to testify, I

       could and would testify competently thereto.

   3. I am a registered voter in DeKalb County. I am a supporter of Coalition for Good

       Governance and an active volunteer in supporting its voter education and election

       security efforts.

   4. On Monday August 24, 2020 I visited DeKalb County Elections office for two hours and

       40 minutes to observe Logic and Accuracy Testing (LAT) of touchscreen ballot marking

       devices for the September 29th Fifth District special election. Ballots for that election

       contain a single race with seven candidates. DeKalb’s precincts that are in the Fifth

       District will all use the same ballot style.

   5. LAT was being conducted in a large warehouse and I stayed behind ropes more than 10

       feet from activities. They worked in batches of about 30 sets of equipment at a time. The

       touchscreens were set out on tables, turned on and connected to printers. Nine people

       were testing them. To produce a marked ballot, the worker would insert a ballot access

       card into the touchscreen, mark one choice on the touchscreen, and then print out that

       choice.

   6. During the time I was observing, the workers did not test for each of the seven candidates

       plus an unvoted race on each BMD machine. That would have resulted in eight printouts
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   from each touchscreen. Instead, a worker would insert an access card into the

   touchscreen, touch a race on the screen, print out a sheet of paper, and proceed the next

   touchscreen. I watched as a worker printed out ballots from eight touchscreens, then stop

   and pick up a printout from each printer, arrange them in some sort of order, and them

   place them in a plastic bag on the scanner. After printing out those single ballots, another

   worker went around and sealed a port on those machines, presumably indicating the end

   of the test for that BMD.



Executed on this date, August 24, 2020.




Elizabeth Throop
